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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 US DOMINION, INC., DOMINION VOTING
 SYSTEMS, INC., and DOMINION VOTING
 SYSTEMS CORPORATION,

                 Plaintiffs/Counter-Defendants,
                                                               Case No. 21-cv-445-CJN
         vs.
                                                               Judge Carl J. Nichols
  MY PILLOW, INC., Defendant/Counter-Claimant.

  MICHAEL J. LINDELL, Defendant/Counter-
  Claimant/Third-Party Plaintiff,

         vs.

 SMARTMATIC USA CORP., SMARTMATIC
 INTERNATIONAL HOLDING B.V., SGO
 CORPORATION LIMITED, and HAMILTON
 PLACE STRATEGIES, LLC,

                 Third-Party Defendants.



                      NOTICE OF SUPPLEMENTAL AUTHORITY

       Third-Party Defendants Smartmatic USA Corp, Smartmatic International Holding B.V.,

and SGO Corporation Limited (collectively, “Smartmatic”) hereby submit this Notice of

Supplemental Authority pertaining to the Court’s requested briefing on a fee award pursuant to

Federal Rule of Civil Procedure 11. (See ECF Nos. 135, 136, 137.) The Court previously dismissed

Third-Party Plaintiff Michael J. Lindell’s complaint against Smartmatic and determined that Mr.

Lindell, through his counsel Douglas A. Daniels and Heath A. Novosad, filed claims which

violated Federal Rule of Civil Procedure 11. (See ECF No. 135, at 29–30.) The Court then ordered

Smartmatic, and Mr. Lindell and his counsel, to file supplemental briefing on the appropriate

amount of fees and costs to be awarded to Smartmatic. (Id.; see also ECF No. 136.) Smartmatic

filed its supplemental briefing (ECF No. 137), as did Mr. Lindell and his counsel (ECF No. 140).


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       Smartmatic now submits as supplemental authority Exhibit A, a decision by the United

States District Court for the District of Minnesota in Smartmatic USA Corp., et al., v. Michael J.

Lindell, et al., No. 22-cv-00098. In that case, Smartmatic sued Mr. Lindell and his company, My

Pillow, Inc., for defamatory statements about Smartmatic’s role in the 2020 election. In the

decision attached as Exhibit A, Judge Wilhelmina M. Wright held that Smartmatic’s claims are

actionable and denied motions to dismiss filed by Mr. Lindell and My Pillow, Inc. Judge Wright’s

decision goes to the heart of this Court’s determination that Mr. Lindell and his lawyers filed

frivolous claims in violation of Rule 11. All of Mr. Lindell’s putative claims against Smartmatic

turned on Smartmatic’s intention to file a defamation lawsuit against him for claiming that

Smartmatic rigged the 2020 election. (See ECF No. 135.) Judge Wright’s decision on the

actionability of Smartmatic’s defamation claims confirms that Mr. Lindell’s claims in this case

were plainly frivolous and designed to frustrate the federal courts’ orderly administration of

justice. As set forth in Smartmatic’s supplemental briefing (ECF No. 137), the degree of Mr.

Lindell’s abuse is relevant to this Court’s fee determination and supports a finding that

Smartmatic’s fees and costs should be recouped to the full extent permissible under Rule 11.

Accordingly, Smartmatic respectfully submits Exhibit A as supplemental authority.




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Dated: April 6, 2023

                                 /s/ Lee B. Muench

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                                CERTIFICATE OF SERVICE

       I, Lee B. Muench, certify that on this 6th day of April, 2023, I electronically filed the

foregoing NOTICE OF SUPPLEMENTAL AUTHORITY with the Clerk of the U.S. District

Court for the District of Columbia using the CM/ECF system, which will send a notice of this

electronic filing to all counsel. A copy will also be sent via email and US mail to the following:


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                                             /s/ Lee B. Muench




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